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                                U NITED STATE S D ISTR IC T CO UR T
                                SO U TH E RN DISTR ICT O F FLO RIDA

                                Case N o. l8-cR -80l66-M iddlebrooks


      UN ITED STA TE S O F A M ER IC A

      VS.

      NICHOLAS W UK OSON,

                            D efendant.
                                                   /




             The United States Attom ey's Office for the Southern DistrictofFlorida and Nicholas

      W ukoson (hereinafterreferredtoastheççdefendanf')enterintothefollowingagreement:
                 Thedefendantagreesto plead guiltyto thesolecountofthe Inform ation,which charges

      the defendantw ith possession ofchild ponzography involving a prepubescentm inor ora m inor

      who hasnotattained the age oftwelve,in violation ofTitle 18,United States Code,Sections

      2252(a)(4)(B)and(b)(2).
             2 Thedefendantisawarethatthesentencewillbeim posedbytheCourtafterconsidering

      the advisory FederalSentencing Guidelines and Policy Statements (hereinafter ççsentencing
      Guidelines').The defendantacknowledges and understands thatthe Courtwillcompute an
      advisory sentence under the Sentencing Guidelines and thatthe applicable guidelines willbe

      determ inedbytheCourtrelying in pal4on the resultsofapre-sentenceinvestigation by theCourt's

      probation office,which investigation w illcom m ence afterthe guilty plea hasbeen entered.The

      defendantisalso awarethat,undercertain circum stances,the Courtm aydepartfrom theadvisory


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 sentencing guideline range that ithas com puted,and m ay raise or low er thatadvisory sentence

 undertheSentencing Guidelines.

            The defendantis further aw are and understandsthatthe Courtis required to consider

 the advisory guideline range detennined under the Sentencing Guidelines,butis not bound to

 im pose a sentencew ithin thatadvisoryrange;the C ourtisperm itted to tailorthe ultim ate sentence

 in lightofotherstatutory concerns,and such sentence may be eitherm ore severe orlesssevere

 than the Sentencing G uidelines'advisory range.Know ing these facts,the defendantunderstands

 and acknow ledges that the Courthas the authority to im pose any sentence w ithin and up to the

 statutory m axim um authorized by 1aw for the offense identified in paragraph 1 and that the

 defendantm ay notwithdraw the plea solely as a resultofthe sentenceim posed.

        4. The defendantunderstands and acknow ledges thatthe Courtm ay im pose a statutory

 m axim um tenu of20 yearsin prison,follow ed by a m inim um term of5 years'supervised release

 up to a m axim um tenn oflife. ln addition to a term ofim prisonm entand supervised release,the

 Courtm ay impose a fine ofup to $250,000,and mustimpose a $100 specialassessm ent. The
 defendantalso understands and agrees thatthe Courtw illorderthe defendantto pay restitution

 to any identified victim s.The am ountofrestitution w illbe determ ined no laterthan 90 daysafter

 the sentencing hearing in thiscase.

        5. Pursuantto 18U.S.C.j 3014(a)(3),in addition to theassessmentunder18U.S.C.j
 3013,the courtshallassess an amountof $5000 on any non-indigentperson convicted of an

 offense underchapter 110. The $5000 shallnotbe payable untilthe person subjectto the
 assessm enthas satisfied al1outstanding court-ordered fines,orders ofrestitution,and any other

 obligation related to victim -com pensation arising from the crim inalconvictions on which the


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  specialassessm entisbased.

         6. Defendantagreesto forfeitto the United States voluntarily and imm ediately allofhisright,

  titleandinterestinthefollowingproperty,whichissubjecttoforfeiturepursuanttoTitlel8,UnitedStates
  Code,Section 2253:

                        one(1)silverHP laptop,serialnumber5C176510165,and
                        one(1)black HP laptop,serialnumber5CD51334FQ.
                Thedefendantagreesthattheabove-listedproperty representsavisualdepiction ofaminor

 engaged in sexually explicit conduct,or a book,magazine,periodical,film ,videotape,or otherm atter,

 which containsany such visualdepiction,which wasproduced,transported,mailed,shipped orreceived in

 violation of the law,or property that was used or intended to be used to com m it or to prom ote the

 comm ission ofthe offenseto which the defendantispleading guilty.

         8.      Defendantfurtheragreesto fully cooperate and assistthe Governm entin the forfeiture of

 thelistedproperty and to takewhateverstepsarenecessarytopasscleartitleto theU nited States,including,

 butnotlim ited to,the sunvnderofdocum entsoftitle,execution ofany docum entsnecessary to transferhis

 interestin any ofthe above property to the United States,execution ofa consentto forfeiture or other

 documentsasm ay be needed to fully accom plish the forfeiture and vesttitle in the United States.

        9.       Defendant furtherknowingly and voluntarily waives the follow ing rights as to property

 subjecttoforfeiture:(l)a1lconstitutional,legalandequitabledefensestotheforfeitureoftheassetsinany
 judicialoradministrativeproceeding;(2)anyjudicialoradministrativenoticeofforfeiture and related
 deadlines;(3)anyjeopardydefenseorclaim ofdoublejeopardy,whetherconstitutionalorstatutory;(4)
 any claim ordefenseunderthe Eighth A mendmentto the United StatesConstitution,including any claim

 ofexcessivefine,totheforfeitureofthepropertybytheUnitedStates;and(5)anyrighttoappealanyorder
 offorfeiture entered by the Coul'
                                 tpursuantto this plea agreem ent.Defendantfurtherunderstands thatthe

 forfeiture ofthe property shallnotbe treated as satisfaction oroffsetagainstany fine,restitution,costof

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 imprisonm ent,orany otherpenalty thiscourtm ay impose on the defendant.

                 TheUnited Statesreservestherightto inform the Courtand theprobation office

  ofallfactspertinentto the scntencing process,including a1lrelevantinform ation concerning the

  offenses comm itted,whether charged or not,as well as concerning the defendant and the

  defendant'sbackground.Subjectonly to the express terms ofany agreed-upon sentencing
  recom mendationscontainedinthisagreem ent,theUnited Statesfurtherreselwestherighttomake

  anyrecomm endation asto the quality and quantity ofpunishm ent.

                 TheU nited Statesagreesthatitwillrecom m end atsentencingthatthe Courtreduce

  by two levels the sentencing guideline levelapplicable to the defendant'soffense,pursuantto

  Section 3E1.1(a)ofthe Sentencing Guidelines,based upon the defendant's recognition and
  affirm ative and tim ely acceptance of personal responsibility.If at the tim e of sentencing the

  defendant's offense levelisdeterm ined to be 16 or greater,the governm entwillfile a m otion

  requesting an additionalone leveldecrease pursuantto Section 3E1.1(b)ofthe Sentencing
  Guidelines,stating thatthe defendanthasassisted authoritiesin the investigation orprosecution

  ofthedefendant'sown m isconductbytim elynotifying autholitiesofthedefendant'sintentionto

  enter a plea of guilty,thereby permitting the governm ent to avoid preparing for trial and

  permitting the governm entand the Courtto allocate theirresources efficiently.However,the

  UnitedStateswillnotberequiredtomakethismotionandrecommendationsifthedefendant:(1)
  fails or refuses to m ake a 1 11,accurate and complete disclosure to the probation office ofthe

   circumstancessurroundingtherelevantoffenseconduct;(2)isfoundtohavemisrepresentedfacts
   tothegovenunentpriortoenteringintothispleaagreement;or(3)commitsanymisconductafter
   entering into thispleaagreem ent,includingbutnotlim ited to com m itting a state orfederaloffense,



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  violating any tenn of release, or m aking false statem ents or m isrepresentations to any

  governmentalentity orofticial.
         12     The defendantis aw are thatTitle 18,U nited StatesC ode,Section 3742 and Title

  28,UnitedStatesCode,Section 1291affordthedefendantthelightto appealthesentenceim posed

  in thiscase.Acknowledging this,in exchange forthe undertakingsmadeby theUnited Statesin

  thisplea agreem ent,the defendanthereby w aivesal1rightsconferred by Sections 3742 and 1291

  to appealanysentenceim posed,including anyrestitution order,orto appealthemannerin which

  the sentence w asim posed,unlessthe sentence exceedsthe m axim um perm itted by statute oristhe

  resultofan upward departureand/oran upward variancefrom theadvisory guidelinerangethat

  theCourtestablishesatsentencing,ortheCourtdeclinesto follow theparties'jointsentencing
  recom m endation. The defendantfurtherunderstandsthatnothing in this agreem entshallaffect

  thegovernment'srightand/orduty toappealassetforth in Title 18,United StatesCode,Section

  37424b)and Title28,United StatesCode,Section 1291.However,iftheUnited Statesappeals
  thedefendant'ssentencepursuantto Sections3742*)and 1291,thedefendantshallbereleased
  from theabovewaiverofappellaterights.Bysigningthisagreement,thedefendantacknowledges

  thathehasdiscussedtheappealwaiversetforthinthisagreem entwith hisattorney.

         13.    Thedefendantunderstandsthatbypleading guilty,hewillberequired to register

  asa sex offenderupon hisrelease from plison,asa condition ofsupervised releasepursuantto

  18U.S.C.j35834* .Thedefendantalsounderstandsthatindependentofsupenrised release,he
  willbe subject to federaland state sex offender registration requirements,and thatthose
  requirem ents m ay apply throughout defendant's life.The defendant understands thathe shall

  keep hisregistration current,shallnotify the state sex offenderregistration agency oragencies of



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  any changesto defendant's nam e,place ofresidence,employm ent,orstudent status,or other

  relevant infonnation.The defendantshallcomply with requirem ents to periodically verify in

  person hissex offender registration information.The defendant understands that he will be

  subjectto possiblefederalandstatepenaltiesforfailureto comply with any such sex offender
  registration requirem ents.lfthedefendantresidesin Florida following release from prison,the

  defendantwillbesubjecttotheregistrationrequirementsofFla.Stat.j943.0435.Thedefendant
  furtherunderstands that,under 18 U.S.C.j 4042(c),notice willbe provided to certain 1aw
  enforcementagenciesupon defendant'sreleasefrom continementfollow ingconviction.

          14.   A sa condition ofsupervised release,the defendantshallregisterwith the state

  sex offenderregistration agency in any statewheredefendantresides,isemployed,works,oris

   astudent,asdirectedbytheProbation Officer.Thedefendantshallcomplywith a11requirements

   of federal and state sex offender registration laws, including the requirem ent to update

   defendant's registration infonnation.The defendantshallprovide proofof registration to the

   Probation Officerwithin 72 hoursofreleasefrom im prisonm ent.




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                  Thisisthe entire agreementand understanding between the United Statesand the

 defendant.Thereareno otheragreements,promises,representations,orunderstandings.


                                               AR IA N A FA JA RD O O RSHA N
                                               U N ITED STA TES ATTO RN EY



   Date:?                               By:
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